      Case 5:22-cv-00964-JGB-SHK Document 14 Filed 07/18/22 Page 1 of 3 Page ID #:115

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                        Central District
                                                    __________  District of
                                                                         of California
                                                                            __________

   AGUSTIN RAMIREZ, ANTHONY RAMIREZ and                             )
           AGUSTIN RAMIREZ, JR.                                     )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )                        ED
                                                                    )
                                v.                                          Civil Action No. 22-cv-00964-JGB-SHK
                                                                    )
 TICKETÓN ENTERTAINMENT, L.P., see attached.                        )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) TICKETÓNENTERTAINMENT,L.P.,LEONARDO’SHUNTINGTONPARK;
                                           BOLETOSEXPRESS.COM;TICKERI,INC.;MISBOLETOSONLINE;EVENTBRITE,
                                           INC.;BANDSINTOWNGROUP,INC.;SKACQUISITIONLTD.;CASALOPEZ
                                           BANQUETHALL;LASIERRANIGHTCLUB;CASATEQUILANIGHTCLUB;
                                           SILVERADONIGHTCLUB;STAMPEDENIGHTCLUB;ROCCAPULCO;EL
                                           CENTENARIOV.I.P.NIGHTCLUB; LOSCAMINANTESHN;ELPATRON
                                           RESTAURANT;LASENSACIÓN;CABALLEROSDECOLON;MIDNITERODEO
                                           DQG'2(6LQFOXVLYH'HIHQGDQWV
          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Karish & Bjorgum, PC; A. Eric Bjorgum (SBN 198392)
                                           119 E. Union St., Suite B, Pasadena CA 91103
                                           213.785.8070; eric.bjorgum@kb-ip.com




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK    COURT
                                                                                 RK OF C OURT
                                                                                            T


Date: July 18, 2022
                                                                                          Signature of Clerk or Deputy Cle
                                                                                                                       Clerk
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 Civil Action No. 22-cv-00964-JGB-SHK

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
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   1
       ERIC BJORGUM (State Bar No. 198392)
       Eric.bjorgum@kb-ip.com
   2   KARISH & BJORGUM PC
   3   119 E. Union Street, Suite B
       Pasadena, CA 91103
   4   Telephone: (213) 785-8070
   5   Facsimile: (213) 955-5010

   6 Attorneys for Plaintiffs, Agustin Ramirez, Anthony Ramirez
       and Agustin Ramirez, Jr.
   7
                           UNITED STATES DISTRICT COURT
   8                      CENTRAL DISTRICT OF CALIFORNIA
                                WESTERN DIVISION
   9

  10 AGUSTIN RAMIREZ, ANTHONY               Case No. FY-*%6+.
       RAMIREZ and AGUSTIN
  11
       RAMIREZ, JR.                 COMPLAINT FOR:
  12                                1. TRADEMARK
       Plaintiffs,                  COUNTERFEITING
  13
                                    2. INFRINGEMENT OF A
  14   vs.                          REGISTERED MARK
                                    3. VIOLATION OF THE TRUTH
  15
       TICKETÓN ENTERTAINMENT,      IN MUSIC ADVERTISING ACT
  16   L.P., LEONARDO’S HUNTINGTON 4. FALSE DESIGATNION OF
       PARK; BOLETOSEXPRESS.COM;    ORIGIN AND FALSE
  17
       TICKERI, INC.; MISBOLETOS    ADVERTISING, 17 U.S.C. § 1125(a)
  18   ONLINE; EVENTBRITE, INC.;    5. TRADEMARK DILUTION
       BANDSINTOWN GROUP, INC.; SK 6. INTERFRENCE WITH
  19
       ACQUISITION LTD.; CASA LOPEZ PROPSECIVE ECONOMIC
  20   BANQUET HALL; LA SIERRA      ADVANTAGE
       NIGHT CLUB; CASA TEQUILA     7. VILATION OF CAL. BUS. &
  21
       NIGHT CLUB; SILVERADO NIGHT PROF. CODE SECTION 17200
  22   CLUB; STAMPEDE NIGHT CLUB; 8. VIOLATION OF COMMON
       ROCCAPULCO; EL CENTENARIO LAW RIGHT OF PUBLICITY
  23
       V.I.P. NIGHT CLUB; LOS       9. VIOLATION OF CAL. CIVIL
  24   CAMINANTES HN; EL PATRON     CODE SECTION 3344
  25
       RESTAURANT; LA SENSACIÓN;    10. CONTRIBUTORY
       CABALLEROS DE COLON;         TRADEMARK INFRINGEMENT
  26   MIDNITE RODEO; and DOES 1 –
  27
       20, inclusive, Defendants.   JURY TRIAL REQUESTED

  28
                                        COMPLAINT
